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DOCUMENT

| ELECTRONICALLY FILED

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK DOC #: |
x “DATE FILED: _@ [/ 7/16)
Edwards, ou "
Plaintiff(s), CIVIL CASE DISCOVERY PLAN
AND SCHEDULING ORDER
Vv.

19 CV 1362 (VB)

Westchester County, et al.,
Defendant(s).

X

This Civil Case Discovery Plan and Scheduling Order is adopted, after
consultation with counsel and any unrepresented parties, pursuant to Fed. R. Civ. P. 16
and 26(f):

1. All parties [eersent] [do not consent] to conducting all further proceedings before
a Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c).
The parties are free to withhold consent without adverse substantive
consequences. (If all parties consent, the remaining paragraphs of this form
need not be completed.)

2. This case [is] [is-net} to be tried to a jury.

3. Amended pleadings may not be filed and additional parties may not be joined
except with leave of the Court. Any motion to amend or to join additional parties
shall be filed by 7.31.2025 . (Absent exceptional circumstances,
30 days from date of this Order.)

4, Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed by
7,15,2025 . (Absent exceptional circumstances, 14 days from date
of this Order.)

5. Fact Discovery

12.17.2026
a. All fact discovery shall be completed by

(Absent exceptional circumstances, a period not to exceed 120 days from

date of this Order.)

b. Initial requests for production of documents shall be served by
8,15.2025

c. interrogatories shall be served by 8.15.2025

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d. Non-expert depositions shall be completed by 12.17.2026

e. Requests to admit shall be served by 12.17.2025

f. Any of the interim deadlines in paragraphs 5(b) through 5(e) may be
extended by the written consent of all parties without application to the
Court, provided that all fact discovery is completed by the date set forth in
paragraph 5(a).

Expert Discovery
a. All expert discovery, including expert depositions, shall be completed by
2.20.2026 . (Absent exceptional circumstances, 45 days

from date in paragraph 5(a); i.e., the completion of all fact discovery.)

b. Plaintiff's expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be
made by 1.9,2026 .

Cc. Defendant's expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall
be made by 1.9.2026

d. The interim deadlines in paragraphs 6(b) and 6(c) may be extended by the
written consent of all parties without application to the Court, provided that
all expert discovery is completed by the date set forth in paragraph 6(a).

Additional provisions agreed upon by the parties are attached hereto and made a
part hereof.

ALL DISCOVERY SHALL BE COMPLETED BY 2.20.2026 .
(Absent exceptional circumstances, a period not to exceed 6 months from date of
this Order.)

All motions and applications shall be governed by the Court's Individual
Practices, including the requirement of a pre-motion conference before a motion
for summary judgment is filed.

Unless otherwise ordered by the Court, within 30 days after the date for the
completion of discovery, or, if a dispositive motion has been filed, within 30 days
after a decision on the motion, the parties shall submit to the Court for its

approval a Joint Pretrial Order prepared in accordance with the Court's Individual
Practices. The parties shall also comply with the Court's Individual Practices with
respect to the filing of other required pretrial documents.

The parties have conferred and their present best estimate of the length of the
trial is 3 days.

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This Civil Case Discovery Plan and Scheduling Order may not be modified or the
dates herein extended without leave of the Court or the assigned Magistrate
Judge acting under a specific order of reference (except as provided in
paragraphs 5(f) and 6(d) above).

The (Magistrate Judge assigned to this case is the Honorable
eCay ky, .
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If, after the entry of this Order, the parties consent to trial before a Magistrate
Judge, the Magistrate Judge will schedule a date certain for trial and will, if
necessary, amend this Order consistent therewith.

The next case management conference is scheduled for 2 us| 2026
at lo: 306A . (The Court will set this date at the initial conference.)

Counsel shall discuss settlement in good faith. By no later than alta [2s '
counsel shall submit a joint letter regarding the status of their settlerhent.
discussions and indicating whether there is anything the Court can do to assist in
that regard. (The Court will set this date at the initial conference.)

Dated: 6(i2 [es

White Plains, NY
SO ORDERED:

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Vincent L. Briccetti ¥
United States District Judge

